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 8                                UNITED STATES DISTRICT COURT

 9                             SOUTHERN DISTRICT OF CALIFORNIA

10    UNITED STATES OF AMERICA,          )            Case No. 09cr1597-JM
                                         )
11                      Plaintiff,       )            AMENDED ORDER OF
                                         )            CRIMINAL FORFEITURE
12          v.                           )
                                         )
13    DENNIS SCOTT WILSON (1),           )
      BRAD SCOTT WILSON (2),             )
14                                       )
                        Defendants.      )
15    ___________________________________)

16

17           On August 31, 2009, this Court entered its Preliminary Orders of Criminal Forfeiture,

18    which condemned and forfeited to the United States all right, title and interest of Defendants

19    DENNIS SCOTT WILSON (1) and BRAD SCOTT WILSON (2) in the properties listed in the

20    Forfeiture Allegations of the Superseding Information, namely,

21           a) the property at 3773 Buena Creek Road, Vista, California, and All
             Improvements and Appurtenances Affixed Thereto, more particularly described as:
22

23           ASSESSORS PARCEL NO. 181-181-18-00, 181-181-19-00, 181-181-23-00:

24           Parcel 1:

25           That portion of the Southwest Quarter of the Southeast Quarter of Section 27,
             Township 11 South, Range 3 West, San Bernardino Base and Meridian, in the
26           County of San Diego, State of California, according to the United States
             Government Survey, approved December 14, 1885, described as follows:
27           Beginning at the Southeast Corner of said Southeast Quarter the Southeast Quarter
             of Section 27; thence North 1*31' West, 331.41 feet to the Southeast corner of that
28           certain Parcel of Land conveyed to the Vista Irrigation District by Deed dated
             December
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            29, 1925 and recorded in Book 1266, Page 237 of Deeds, Records of said County;
 2          thence along the Southerly line of the land so Deeded North 89*18' West, 285.19
            feet to the center line of County Road Survey No. 681 (Buena Creek Road) and the
 3          True Point of Beginning; thence continuing along said Southerly line of the land
            so Deeded to the Vista Irrigation District, North 89*18' West, 374.84 feet to the
 4          Southwest Corner thereof; thence along the West line of the land so Deeded, North
            1* 13'30"West, 60.04 feet; thence South 89* 18'East, 174.77 feet to the beginning
 5          of the tangent curve concave Northwesterly and having a radius of 25 feet; thence
            Northeasterly and Northerly along the arc of said curve, through a central angle of
 6          131*25'10" a distance of 57.34 feet to a point in the Southwesterly line of said
            County Road Survey No. 681 said point being on the arc of a curve concave
 7          Northeasterly and having a radius of 530 feet a radial line to said point bearing
            South 49*15'50" West; thence along said radial line North 49*16'50" East, 30 feet
 8          to the center line of said Country Road Survey No. 681 being a point on the arc of
            a curve in said center line said curve being concave Northeasterly and having a
 9          radius of 500 feet a radial line to said point bearing South 49*16'50" West; thence
            Southeasterly along the arc of said curve through a central angel of 21* 25'20" an
10          arc distance of 186.94 feet, thence tangent to said curve South 62*08'30" East,
            15.88 feet to the True Point of Beginning.
11
            Parcel 2:
12
            An easement for road purposes over a strip of land of the uniform width of 20 feet,
13          lying within the Southwest Quarter of the Southeast Quarter of Section 27,
            Township 11 South, Range 3 West, San Bernardino Base and Meridian, in the
14          County of San Diego, State of California, the Southwesterly line thereof, described
            as follows: Beginning at the most Southerly corner of Parcel 1 hereinabove
15          described; thence South 67*25'East 166.56 feet to the South line of Section 27,

16          Township 11 South, Range 3 West, the Northeasterly line being prolonged
            Southeasterly to the said South line of Section 27 and Northwesterly to the
17          Southeast line of Parcel 1 above.

18          Parcel 2A:

19          An easement and right of way for road and appurtenances thereto over, under,
            along and across a strip of land 20 feet in width over a portion of the Northeast
20          Quarter of Section 34; Township 11 South, Range 3 West, San Bernardino Base
            and Meridian, in the County of San Diego, State of California, according to United
21          States Government Survey, the Northerly line of said strip being described as
            follows: Beginning at the North Quarter corner of said Section 34, South
22          89*09'East 574.67 feet to the True Point of Beginning of the hereindescribed line;
            thence continuing along said line South 89*09'East to the East line of the
23          Northwest Quarter of the Northeast Quarter and the end of said line. The Southerly
            line of said strip to be lengthened or shortened to terminate on the West in a line
24          that is drawn at right angles Southerly of the True Point of Beginning and on the
            East in the Easterly line of said Northwest Quarter of the Northeast Quarter.
25
            Parcel 2B:
26
            An easement and right of way for road, and appurtenances thereto over, under,
27          along and across a strip of land 20 feet in width over a portion of the Northeast
            Quarter of Section 34, Township 11 South, Range 3 West, San Bernardino Base
28          and Meridian, in the County of San Diego, State of California, according to

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 1            United States Government Survey, the Northerly line of said strip being described
              as follows: Beginning at the Northwest corner of the Northeast Quarter of said
 2            Northeast Quarter; thence along the Northerly line of said section 34, South
              89*09'East to the center line of County Road Survey No. 681 as same was
 3            conveyed to the County of San Diego by deed recorded November 11, 1939 in
              Book 960, Page 10 of Official Records and the end of said line. The Southerly line
 4            of said strip to be lengthened or shortened to terminate on the West in the West line
              of said Northeast Quarter of the Northeast Quarter and on the East in the center line
 5            of said County Road Survey No. 681. The easements herein described are hereby
              declared to be appurtenant to and for the use and benefit of the present and future
 6            owners of all or any portion of Parcel No. 2 above. NOTE: Said land lies within
              the boundaries of The Vista Irrigation District and inquiry relative to the right of
 7            said land to receive water should be made at the Office of said District.

 8            Parcel 3:

 9            That portion of the West Half of the Southwest Quarter of the Southeast Quarter
              of Section 27, Township 11 South, Range 3 West, San Bernardino Base and
10            Meridian, in the County of San Diego, State of California, described as follows:
              Beginning at the South Quarter corner of said Section 27; thence along the South
11            line of said Section 27, South 89*09'East, 574.67 feet to the True Point of
              Beginning; thence continuing along said South line; South 89*09'East, 87.07 feet
12            to the Southeast corner of said West Half; thence along the East line of said West
              Half, North 1*13'30" West, 330.45 feet; thence North 80*08' West, 488.54 feet;
13            thence South 40*59'West, 252.17 feet; thence South 30* West, 10.00 feet; thence
              South 70*East, 275.00 feet; thence South 67*25'East, 332.63 feet to the True Point
14            of Beginning;
              and
15
              b)      One Toyota 4Runner bearing CA License Plate No. 8BPU207.
16

17            For thirty (30) consecutive days ending on October 1, 2009, the United States published

18    on the Government’s forfeiture website, www.forfeiture.gov, notice of the Court's Order and the

19    United States' intent to dispose of the properties in such manner as the Attorney General may

20    direct, pursuant to 21 U.S.C. § 853(n) and Rule G(4) of the Supplemental Rules for Admiralty or

21    Maritime Claims and Asset Forfeiture Actions, and further notifying all third parties of their right

22    to petition the Court within thirty (30) days of the final publication for a hearing to adjudicate the

23    validity of their alleged legal interest in the properties.

24            On September 3, 2009, Notice of Order of Forfeiture was sent by certified mail as follows:

25    Name and Address                        Article No.                    Result

26    JP Morgan Chase Bank, N.A.              7007 2560 0001 9144 1777       Signed for as received
      c/o CT Corporation System                                              on 9/04/09
27    Agent for Service of Process
      818 West Seventh Street
28    Los Angeles CA 90017

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 1    //

 2    North Island Federal Credit Union      7007 2560 0001 9144 1784       Signed for as received
      c/o Geri Gillingham                                                   on 9/04/09
 3    Agent for Service of Process
      5898 Copley Drive
 4    San Diego CA 92111

 5    The United States has recognized the validity and priority of the interest of JP Morgan Chase

 6    Bank, N.A. in the subject real property. The subject vehicle was forfeited administratively by the

 7    Drug Enforcement Administration on October 15, 2009, and the interest of North Island Federal

 8    Credit Union was paid. Therefore, the vehicle is hereafter excluded for forfeiture in this Amended

 9    Order.

10             Thirty (30) days have passed following the final date of notice by publication and notice

11    by certified mail, and no third party has made a claim to or declared any interest in the forfeited

12    real property described above except JP Morgan Chase Bank.

13             Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that, as a result

14    of the failure of any third party to come forward or file a petition for relief from forfeiture as

15    provided by law, all right, title and interest of DENNIS SCOTT WILSON (1) and BRAD SCOTT

16    WILSON (2) and any and all third parties except JP Morgan Chase Bank in the following property

17    are hereby condemned, forfeited and vested in the United States of America:

18             a) the property at 3773 Buena Creek Road, Vista, California, and All
               Improvements and Appurtenances Affixed Thereto, more particularly described as:
19

20             ASSESSORS PARCEL NO. 181-181-18-00, 181-181-19-00, 181-181-23-00:

21             Parcel 1:

22             That portion of the Southwest Quarter of the Southeast Quarter of Section 27,
               Township 11 South, Range 3 West, San Bernardino Base and Meridian, in the
23             County of San Diego, State of California, according to the United States
               Government Survey, approved December 14, 1885, described as follows:
24             Beginning at the Southeast Corner of said Southeast Quarter the Southeast Quarter
               of Section 27; thence North 1*31' West, 331.41 feet to the Southeast corner of that
25             certain Parcel of Land conveyed to the Vista Irrigation District by Deed dated
               December 29, 1925 and recorded in Book 1266, Page 237 of Deeds, Records of
26             said County; thence along the Southerly line of the land so Deeded North 89*18'
               West, 285.19 feet to the center line of County Road Survey No. 681 (Buena Creek
27             Road) and the True Point of Beginning; thence continuing along said Southerly line
               of the land so Deeded to the Vista Irrigation District, North 89*18' West, 374.84
28             feet to the Southwest Corner thereof; thence along the West line of the land so

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 1          Deeded, North 1* 13'30"West, 60.04 feet; thence South 89* 18'East, 174.77 feet
            to the beginning of the tangent curve concave Northwesterly and having a radius
 2          of 25 feet; thence Northeasterly and Northerly along the arc of said curve, through
            a central angle of 131*25'10" a distance of 57.34 feet to a point in the
 3          Southwesterly line of said

 4          County Road Survey No. 681 said point being on the arc of a curve concave
            Northeasterly and having a radius of 530 feet a radial line to said point bearing
 5          South 49*15'50" West; thence along said radial line North 49*16'50" East, 30 feet
            to the center line of said Country Road Survey No. 681 being a point on the arc of
 6          a curve in said center line said curve being concave Northeasterly and having a
            radius of 500 feet a radial line to said point bearing South 49*16'50" West; thence
 7          Southeasterly along the arc of said curve through a central angel of 21* 25'20" an
            arc distance of 186.94 feet, thence tangent to said curve South 62*08'30" East,
 8          15.88 feet to the True Point of Beginning.

 9          Parcel 2:

10          An easement for road purposes over a strip of land of the uniform width of 20 feet,
            lying within the Southwest Quarter of the Southeast Quarter of Section 27,
11          Township 11 South, Range 3 West, San Bernardino Base and Meridian, in the
            County of San Diego, State of California, the Southwesterly line thereof, described
12          as follows: Beginning at the most Southerly corner of Parcel 1 hereinabove
            described; thence South 67*25'East 166.56 feet to the South line of Section 27,
13          Township 11 South, Range 3 West, the Northeasterly line being prolonged
            Southeasterly to the said South line of Section 27 and Northwesterly to the
14          Southeast line of Parcel 1 above.

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17          Quarter of Section 34; Township 11 South, Range 3 West, San Bernardino Base
            and Meridian, in the County of San Diego, State of California, according to United
18          States Government Survey, the Northerly line of said strip being described as
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19          89*09'East 574.67 feet to the True Point of Beginning of the hereindescribed line;
            thence continuing along said line South 89*09'East to the East line of the
20          Northwest Quarter of the Northeast Quarter and the end of said line. The Southerly
            line of said strip to be lengthened or shortened to terminate on the West in a line
21          that is drawn at right angles Southerly of the True Point of Beginning and on the
            East in the Easterly line of said Northwest Quarter of the Northeast Quarter.
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25          and Meridian, in the County of San Diego, State of California, according to United
            States Government Survey, the Northerly line of said strip being described as
26          follows: Beginning at the Northwest corner of the Northeast Quarter of said
            Northeast Quarter; thence along the Northerly line of said section 34, South
27          89*09'East to the center line of County Road Survey No. 681 as same was
            conveyed to the County of San Diego by deed recorded November 11, 1939 in
28          Book 960, Page 10 of Official Records and the end of said line. The Southerly line

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 1           of said strip to be lengthened or shortened to terminate on the West in the West line
             of said Northeast Quarter of the Northeast Quarter and on the East in the center line
 2           of said County Road Survey No. 681. The easements herein described are hereby
             declared to be appurtenant to and for the use and benefit of the present and future
 3           owners of all or any portion of Parcel No. 2 above. NOTE: Said land lies within
             the
 4

 5           boundaries of The Vista Irrigation District and inquiry relative to the right of said
             land to receive water should be made at the Office of said District.
 6
             Parcel 3:
 7
             That portion of the West Half of the Southwest Quarter of the Southeast Quarter
 8           of Section 27, Township 11 South, Range 3 West, San Bernardino Base and
             Meridian, in the County of San Diego, State of California, described as follows:
 9           Beginning at the South Quarter corner of said Section 27; thence along the South
             line of said Section 27, South 89*09'East, 574.67 feet to the True Point of
10           Beginning; thence continuing along said South line; South 89*09'East, 87.07 feet
             to the Southeast corner of said West Half; thence along the East line of said West
11           Half, North 1*13'30" West, 330.45 feet; thence North 80*08' West, 488.54 feet;
             thence South 40*59'West, 252.17 feet; thence South 30* West, 10.00 feet; thence
12           South 70*East, 275.00 feet; thence South 67*25'East, 332.63 feet to the True Point
             of Beginning.
13
             IT IS FURTHER ORDERED that costs incurred by the United States Marshals Service,
14
      the Drug Enforcement Administration and any other governmental agencies which were incident
15
      to the seizure, custody and maintenance of the real property be the first charge against the forfeited
16
      property.
17
              IT IS FURTHER ORDERED that the United States Marshals Service has the authority to
18
      evict any and all occupants of the above-referenced real property if and when necessary.
19
             IT IS FURTHER ORDERED that the United States Marshals Service shall dispose of the
20
      forfeited property according to law.
21

22    DATED: December 9, 2009

23
                                                      Hon. Jeffrey T. Miller
24                                                    United States District Judge

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